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                     IN THE UNITED STATES BANKRUPTCY COURT

                              FOR THE DISTRICT OF OREGON

DENICE IRLENE WARD,                          )     Case No.: 12-33720-tmb13
                                             )
              Debtor,                        )
                                             )     Adv. Proc No.: 19-03107-tmb
                                             )
DENICE IRLENE WARD                           )     DEFENDANTS FEDERAL NATIONAL
                                             )     MORTGAGE ASSOCIATION and
              Plaintiff,                     )     NATIONSTAR MORTGAGE LLC’S
                                             )     MEMORANDUM OF LAW AND
                                             )     WITHDRAWAL OF AFFIRMATIVE
       VS.
                                             )
                                                   DEFENSE
                                             )
FEDERAL NATIONAL MORTGAGE                    )
ASSOCIATION and                              )
NATIONSTAR MORTGAGE LLC,                     )
                                             )
              Defendants.                    )
                                             )

       Defendants Federal National Mortgage Association (“FNMA”) and Nationstar Mortgage

LLC (“Nationstar”) (collectively, “Defendants”) submit this Memorandum of Law and

Withdrawal of Affirmative Defense, as ordered by the Court at the Pretrial Hearing on December

3, 2019. Based upon further review of the factual and legal background of the case, Defendants

hereby withdraw the affirmative defense of lack of subject matter jurisdiction. Defendants find
 PAGE 1 – DEFENDANTS FNMA AND NATIONSTAR                                       McCarthy & Holthus, LLP
 MORTGAGE LLC’S MEMORANDUM ON JURISDICTION                                     920 SW 3rd Ave, 1st Floor
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                        Case 19-03107-tmb        Doc 26   Filed 01/16/20
that the Court’s subject matter jurisdiction in this case is a discretionary matter under 28 U.S.C.

§1334, and leaves the issue of subject matter jurisdiction to the Court’s discretion.

                                   MEMORANDUM OF LAW

       This adversary proceeding arises out of a settlement agreement between Plaintiff and

FNMA, and prior loan servicer Seterus, related to Debtor’s Motion for Contempt filed in

Plaintiff’s Chapter 13 Bankruptcy case, U.S. Bankruptcy Court, Case No. 12-33720-PCM13. The

Bankruptcy Case was closed on December 7, 2018, following the filing of the Motion for

Contempt, and the case was not reopened prior to the filing of this Adversary Proceeding.

However, based on the nature of the factual allegations and claims in the adversary complaint, it

is not necessary for the Bankruptcy Case to be reopened in order for this Court to have subject

matter jurisdiction under 28 U.S.C. §1334. See Menk v. Lapaglia (In re Menk), 241 B.R. 896,

905-906 (BAP 9th Cir. 1999). Rather, the Court has discretion to retain jurisdiction following the

closing of the case, based on considerations of judicial economy, convenience, fairness, and

comity. Id. Therefore, Defendants withdraw the affirmative defense of lack of subject matter

jurisdiction. The exercise of subject matter jurisdiction is a matter of the Court’s discretion, and

Defendants leave this determination to the Court to either exercise jurisdiction or to decline

jurisdiction sua sponte.

DATED: 01/16/20                               McCarthy & Holthus, LLP

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 PAGE 2 – DEFENDANTS FNMA AND NATIONSTAR                                          McCarthy & Holthus, LLP
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                           Case 19-03107-tmb      Doc 26     Filed 01/16/20
                                CERTIFICATE OF SERVICE

       I hereby certify that I served the foregoing DEFENDANTS FEDERAL NATIONAL
MORTGAGE ASSOCIATION AND NATIONSTAR MORTGAGE LLC’S MEMORANDUM
OF LAW AND WITHDRAWAL OF AFFIRMATIVE DEFENSE upon the following parties in
the manner indicated below on this Thursday, January 16, 2020 as follows:

VIA ECF:

Alexzander C.J. Adams
Noah C. Bishop
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14705 SW Millikan Way
Beaverton, OR 97006



VIA US MAIL:

Marc E. Dann
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PO Box 6031040
Cleveland, OH 44103



DATED: 01/16/20

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                      Case 19-03107-tmb         Doc 26   Filed 01/16/20
